Case 1:18-cv-00681-RJL Document 91-24 Filed 11/08/19 Page 1 of 3




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               Case 1:18-cv-00681-RJL Document 91-24 Filed 11/08/19 Page 2 of 3


(ULFD6SHYDFN

)URP                           0HU\O*RYHUQVNL
6HQW                           )ULGD\6HSWHPEHU$0
7R                             ZOODZ\HUV#VXQVKLQHSUHVVRUJZOOHJDO#VXQVKLQHSUHVVRUJ
&F                             *RWWOLHE0LFKDHO
6XEMHFW                        ):5LFKY%XWRZVN\HWDO1RFY5-/ ''&



7RWKH/HJDO5HSUHVHQWDWLYHVRI:LNL/HDNV
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ODZ\HUV#VXQVKLQHSUHVVRUJPDLOWRZOODZ\HUV#VXQVKLQHSUHVVRUJ!DQGZO
OHJDO#VXQVKLQHSUHVVRUJPDLOWRZOOHJDO#VXQVKLQHSUHVVRUJ! ,UHFHLYHGDQRWLFHWKDWWKHHPDLOV,SUHYLRXVO\
VHQWWRERWKRIWKHVHHPDLODGGUHVVHVZHUHQRWGHOLYHUHGGXHWRDQ³XQDYDLODEOHRUEXV\´VHUYHU:HKRSH\RX
DUHDEOHWRSD\SURPSWDWWHQWLRQWRWKLVLPSRUWDQWPDWWHU
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)URP0HU\O*RYHUQVNL
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ODZ\HUV#VXQVKLQHSUHVVRUJ! EHFDXVHZHUHFHLYHGDQRWLFHWKDWWKHHPDLOVHQWWRZO
OHJDO#VXQVKLQHSUHVVRUJPDLOWRZOOHJDO#VXQVKLQHSUHVVRUJ!ZDVQRWGHOLYHUHGGXHWRDQ³XQDYDLODEOHRU
EXV\´VHUYHU:HKRSH\RXDUHDEOHWRSD\SURPSWDWWHQWLRQWRWKLVLPSRUWDQWPDWWHU
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)URP0HU\O*RYHUQVNL
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RQJRLQJIHGHUDOOLWLJDWLRQEHIRUHWKH8QLWHG6WDWHV'LVWULFW&RXUWIRUWKH'LVWULFWRI&ROXPELD6HH5LFKY
%XWRZVN\HWDO1RFY5-/ ''& :HEHOLHYHWKDWWKHLQWHUHVWVRIWUDQVSDUHQF\DQGRSHQ
JRYHUQPHQWZRXOGEHDLGHGE\\RXUSDUWLFLSDWLRQLQRXUOLWLJDWLRQ7RZDUGVWKDWHQGZHKDYHIRUPRUHWKDQD
\HDUDWWHPSWHGWRUHDFK\RXDQG\RXUUHSUHVHQWDWLYHVYLDGLSORPDWLFFKDQQHOVDVZHOODVWKURXJKOHJDOFRXQVHO
RI0U-XOLDQ$VVDQJHLQWKH8QLWHG6WDWHV0U%DUU\3ROODFN:HKDYHUHFHLYHGQRDVVLVWDQFHLQRXUHIIRUWVWR
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<RXUZHEVLWHSURYLGHVWKLVHPDLODGGUHVV ZOOHJDO#VXQVKLQHSUHVVRUJPDLOWRZOOHJDO#VXQVKLQHSUHVVRUJ! 
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HOHFWURQLFVHUYLQJRIOHJDOGRFXPHQWV´:HDUHZULWLQJWRLQTXLUHZKHWKHUQRWZLWKVWDQGLQJWKDWGHFODUDWLRQ
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               Case 1:18-cv-00681-RJL Document 91-24 Filed 11/08/19 Page 3 of 3

\RXZRXOGEHZLOOLQJWRGLVFXVVFRQGLWLRQVXQGHUZKLFK\RXFRXOGSDUWLFLSDWHLQRXUOLWLJDWLRQLQFOXGLQJEXWQRW
OLPLWHGWR\RXUDJUHHPHQWWRDFFHSWVHUYLFHRIDVXESRHQDLVVXHGSXUVXDQWWR5XOHRIWKH)HGHUDO5XOHVRI
&LYLO3URFHGXUH$OWHUQDWLYHO\ZHZRXOGEHSOHDVHGWRGLVFXVVWKLVPDWWHUZLWK\RXURXWVLGHFRXQVHOLI\RX
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